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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 ELLIOT CENSOR,

                                Plaintiff,

                  -v-                               Civil Case Number: 3:19-cv-20701-MAS-DEA

 BANK OF AMERICA, N.A.,


                                Defendant.


                                 STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

stipulate to the Plaintiff’s voluntary dismissal of all claims against Defendant BANK OF

AMERICA, N.A. in the above-captioned matter, with prejudice. A proposed Order of Dismissal

is annexed hereto as Exhibit A.

         All parties shall bear their own attorneys’ fees and costs incurred in this action.

Dated:          April 7, 2020

 /s/ Yitzchak Zelman                                 /s/ Philip Andrew Goldstein
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